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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA

 JAMES WILLSON CHESHER                          )
 and CHERYL ANN CHESHER                         )
                                                )    Civil Action No. 3:15-cv-02123-DCN
                 Plaintiffs,                    )
 v.                                             )
                                                ) CONSENT DISMISSAL OF 3M COMPANY
 3M COMPANY f/k/a MINNESOTA                     )
 MINING AND MANUFACTURING                       )
 A Delaware Corporation, et al.                 )
                                                )
                 Defendants.                    )
                                                )

         COMES NOW Plaintiffs and Defendant 3M Company, pursuant to Rule 41, Federal Rules

of Civil Procedure, and hereby moves to dismiss with prejudice all claims against Defendant 3M

Company, each party to bear their own costs. Plaintiffs expressly reserves the right to proceed

against all other defendants as filed.

         Respectfully submitted this 22nd day of March, 2016.



WE SO CONSENT:                                       WE SO CONSENT:


  s/ Walker Humphrey                                s/Michael C. Griffin
 Walker Humphrey                                  Michael C. Griffin
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                                CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of 3M Company’s Consent Dismissal

With Prejudice upon all counsel of record in the above-referenced case via CM/ECF.



                                                      s/ Michael C. Griffin
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